Case 1:12-cv-00007-SS Document 28-8 Filed 07/31/12

EXHIBIT "C"

Page 1 of 13

Case 1:12-cv-00007-SS Document 28-8 Filed 07/31/12 Page2of13
AMS 000332
CJvowp Cl] cornrecteo
PAYER'S name, strect address, city, stata, ZIP code, and telephone no. | 7% Renls OMB No. 1545-0115 | CO g
: 2
Austin Montessori School, Ine. - : < E
5006 Sunset Trail ‘ DOS Miscellaneous He
Austin, TX 78745 2 Roysities Income =)
512-892-0253 <¢
Form 1099-MISC = t
& Other income 4 Federal Income tax wilhheld Lut
Ea Copy G me i
: - - For Payer 2 :
PAYER'S federal identilleation RECIPIENT'S idaniification 5 Fishing boal proceeds 6 Medical and health care payments oO x i
number nugd or State Copy = i
XX-XXXXXXX or Copy 2 we
8 g |
RECIPIENT'S name, address, city and ZIP code 7 Nonemployee compensation | & Substitute payments in leu of mM c
Calvin 8. Carter dividends or inlerest For Privacy Act c 2
and Paperwork On
is Reduction Act x
9 Payar made direct sales af [10- Crop insurance proceeds Notice, see the -— a
$5,008 ox rare of consumer] 2009 General iW B
F 2
freciieng) for resale > Instructions for 5 ¢
Forms 1098, c
Se 1098, 3921, <
Account number see instructions} 2nd FIN pot.j4a Exeess golden caechute Grass proceeds paid to 3022, 54098, =
payments an attorney and W-2G. z
c i
fs iS & f
Ga Section 409A daferrais 13> Section 409-4 incema 8 Stale tax withheld 47 State/Payer's state no. 18 State incomes 5
$ G :
bpm oe seat cane eneetee ences waa tea eee cen eet en seen cc eens DD esos castes eosenrreenes =
is $ 5 is 3 :
Form 1099-MISG , Department ci the Treasury - intemal Revenue Service 3
Elvoiw [] comRectep
PAYER’S name, street addrass, cily, state, IP code, and telephone no. 1 Rents OMB Ne. 1845-0115
Austin Montessori School, Inc, _ '
S006 Sunset frail 8 DOOG | Miscettaneous
Austin, TH 78745 2 Royatios income
512-892-0253
. % Form 1699-MISC
4 Other income 4 Fadral income tax withheld
$ ls : Copy 6
PAYERS federal ‘dentification RECIPIENT'S identification 5 Fishing boat proceeds | @ Medial and tealti care payments For Payer
J SWTAR OE ccececseanpcesense comer sey oof JARI eee ef ce ar ne eeeeneeerecmanrmneniiefeen aie pate ce ce mma ceeuee fone At State GOpy i
iS 1
RECIPIENT'S name, address, chy end ZIP code a Nonampleyee compensation | 8 eunstnute payments in fey of
. . iifends or itarast For Privacy Act
Cleotilde Maldonado and Paperwork
va RS ep ane aac = =~ is caper ct ra ectteeer et eduction Act Tere te
3 Payer mate direci sales of |40 Grop msuranca proceeda | NowcG, see the
5.000 or mere of consumer} : 2009 Gensral
freaipient tor rosa » ri is instructions for
: Forms 1099,
1098, 392,
Acco number fee instructions} 2nd TiN not. |1% Excess golden parachutali4 Gross proceeds paid ta 9922, 5498,
. anaitomey and W-26, |
45a Section 409A delerrels 158 Section 409A income : State/Payer’s sate no, 18 Stale income Cal
$ ~
$ : 3 " 1D -
Fam 1089-MiSC Repariment of the Treasury - intemal Revanua Service-- FORM

Case 1:12-cv-00007-SS Document 28-8 Filed 07/31/12 Page3of13
AMS 0600333
Llvoiw _[] conrecrep
PAYER'S name, street address, city. stale, ZIP code, and telephone no. | 1 Rents OMB No. 1645-0115 ics
3
Austin Montessori School, Inc. 3 < E
5006 Sunset Trail f 2OO8 Miscellaneous = "74
Austin, TX 76745 2 Aoyahies income —S¢
§12~893-0253 ie
Form 1099-MISC =e
8 Other income 4 Foderal incorne tax withheld HL z
is Gopy ¢ x
$ For Payer cc z
PAYER'S federal identification ReciPIENT’S identification §& Fishing beat proceeds & Medical and health cart payments or c O e
eit ~ State Co =
rT 2699667 orCopy2 Lag
my? We
: 2 ms
RECIPIENT'S nama, address, city and ZIP code 7 Nexemployea compensation | & Substitute paymenis in Kea of / g
Donald 8, Porter Salons oF erst Por Privacy Act L¢
and Paperwork . Oz
$ Reduction Act < Xe
@ Payer mass direct eales of [19 Gop meurance proceeds | Notice, see the i st
ee mare of consumer; ' BOOS General Wu g
roduets lo a puyer
(recigten) for resale » [7] instructions for as
tf : 42 Forms 1099, c
SS 1088, S824, s
Account nuinber [see Instrugtions} and TI nol. [18 Excess goklen parachule [4 Grogs proceeds paid to 3922, 5498, 4
paytnarts an attemey and W-2G, 2
oO
Cd #
Téa Seclion 409A deferrals Tao Gection 4084 incomes 16 State tax withheld 17 State/Payer's stata ag. 18 State Income Ee
en ucawesuveefecsesrecesneeteeseesseveeey Bo escessessseeeee x
$ $ $ Z
Form 1089-MISC Department of the Treasury ~ Intemal Revenue Service =
[vor] coRRECTED
PAYER'S name, street address, cify, state, ZIP cade, and telephone no, 1 Rents OMG No. 1545-0915
Austin Montessori School, Ine. ?
5006 Sunset Traid £ 2009 Miscellaneous
Austin, TX 78745 2 Royatles Income
512-892-0253
is Form 1699-MiSC
3 Other income 4 Federal facome tax withheld
5 is Capy ¢
PAVER'S tederal identifeation RECIPENTS Wantiication & Fishing boat proceeds | © Meded and heal cave payments For Payer
wf Rumbo eeeereees of PRB SE cee wee ease vevenee et eumevirnennsmennser ee veonene ep inne Of State Copy
Fd-2099607 or Copy 2
3 iS
RECIPIENT'S name, address, city and ZIP sore 7 Nonemployes campensation | & Substitute payments in Feu of
Francisca Tejed dtadends oF interest For Privacy Act
gece. , and Paperwork
iz a Redustion Act
" 8 Payer mace direc} sales of {19 Crop insurance proceeds Notice, see the ~
$5,000 or more of sonaumner; 2009 General
frodplont) for repala > [ig instructions for
: Forms 1089,
: 1998, 3921,
Account number [see instructions} - “Toad TIN noL|13 Excess gokien parachute |14 Gross proceeds paid to 1° ” 3922, 6408,
. payments an attomey | and W-26.,
Cts iS
Wa Secton 409A deferrals 18b Section 408A Incoma 16 State tax withheld 37 Slate/Fayor's state no, 18 State Income Od
, Bo cecccveceeeneseeceegeesecneeneesececentee Bocce sees =
+ * io + is > . : is 2 : 10
Gepartmant of the Treasury - Internal Revenue Service FORM

Fam 1099-MISC

Repent

Case 1:12-cv-00007-SS Document 28-8 Filed 07/31/12 Page4of13

AMS 000334
Clvoi [1 correcrep
PAYER'S nama, sireat address, city, State, ZIP code, and telephane no. 4. Rents | OMB Na. 1545-0175 1 (5 gy
é
Austin Montessori School, Inc. ; 2 5
$006 Sunset Trail D009 Miscellaneous = "74
- Austin, TX 78745 2 Royalties income —=&
512-892-0253 <¢
Form T09S-MISC . =!
8 Other ingonme 4 Federal income tax withheld z
Copy © LU
ye 6
st a ~ * For Payer z
PAYER’S faderal idariification RECIPIENT'S identification 5 Fishing boat proceeds 6G Medical and health care payments or State Gopy © g
Fun per is iF =
142699667 or Copy 2 we
s co
RECIPIENT'S name, address, city and ZIP code 7 Nonemplayee compensation | 8 Substivte payments in Hey of c
Patricia Oriti sarmens For Privacy Act Te
and Paperwerk «
iS / Reduction Act — oe
9 Payer made direct sales of | 40 Grop insurance proceeds Notice, see the bt s
$5,020 or mare of consumer 2009 General Lu E
reducts to @ buyer .
__froiplnt) for sesate > [] Insmuctions for 5 ¢
oes : Forms 1099, c
1098, 3924, s
‘Account number (eee instructions) Bnd TIN not {13 Gross proceeds paid to 3922, 5498, =
an atlomey and W-2G. 2
cs fo
45a Section 4094 deferrals {5b Section 4094 incoma State/Payer's state no. 18 Staie income E : P
Boece eee eli |
is $ iS 3 pF
Ferm 1099-RISC Department of tha Tressury - Internal Revenue Service z :
Cl] voip. C] conrectep
PAYER'S name, slrest address, oly, state, 2iP code, and telephone no. 1 Rents OME No, 1645-0115
Austin Montessori School, Ine. :
5006 Sunset Trail 3 - 2008 Miscellaneous L
Austin, TX. 78745 2 Royalties Income
512~892-0253 :
is : For 1089-MiSG
3 Other Income 4 Federal Income tax withheld
, Copy C
$ For Payer
PAYER'S fecleral identification RECIFIENT'S identification 5 Fishing beat proceeds & Medical and health cars paysents
AUTO essence ects ee vee cone coef oe BUI voce tatafessapmmeenimeiniar st wife west vane teimeeece of meee BEBE COPY
XX-XXXXXXX or Gopy 2
FAECIIENTS nama, address, city and ZIP code Pr Nonenipioyes compensation | & Substitute paprents in Bew of
dividends of interes! ‘;
Paula J. McDermott - - “8 , For Privacy Act
. ; and Paperwork
-— = . . Sete LS renee seen neenl oe OSUStION Ast
9 Payor made direct saga ci 716 Crop insurance proceeds Notice, see the
: $2,000 mor of consumer 2009 General
(recipient) for sesake » [TI __ | Instructions fer
4 re > 42 Forms 1098,
ee aoe Me eon . 1098, 3921, }
Acgount number {ees instructions} 2nd TIN mol. 713 Excess golden parachvta|{4 Gross proceatis paki to 3922, 6408,
. . payments an attorney : _and W-26, t
15a Section 409A defarats #86 Section 409A Income 46 Sime tax wittheld 17 State/Payer's slale no. «= F418 State income Ol
oo eoeeceneqerepecaventveeeep cecenneececeezereegarsesanenDevaegeneneesseeceegees ~~
$ r - + i . ro wee s é a iO i
Fom 1099-MISG Department of the Treasury - Intamai Revenue Service FORV
Case 1:12-cv-00007-SS Document 28-8 Filed 07/31/12 Page5of13

AMS 000335
[ivow CJ correcreo
PAYER'S name, street adovess, ally, state, ZIP coda, and telephiona oo, | 1 Ramis OMB Na. 1848-0715 CUE
: 2
Austin Montessori School, Ine. =
5006 Sunset Trail pe. 2009 Miscellaneous wed
Austin, TX 78745 2 Aoyritlas income =
512-992-0253 <C¢
i$ [Form 1099-MiSC = =
% Other income 4° Federal income tax withheld wt ;
s s cove rs
PAYER'S federal deniileation RECIPIENT'S identification & Fishing boat procesds 1 6 Necirel and heallh cae seymssts For Payer CD ze
nusnber 1 or State Copy = i
XX-XXXXXXX or Gopy2 LL f |
3 : ie
RECIPIENTS nama, address, city and ZIP code 7 Nonemployes compensation | 8 Sie payments it Feu of mM n i
intizest f :
Leslie K. Grove macenls OTS For Privacy Act I &
and Paperwork Oe
$ $ Reduction Act < in :
9 Payer made dies! soles af |40 Crop inswance proceeds | Notice, see the 3
$5,000 of mora of consymer 2009 General LL x
FOducts fo a buyer .
freien’) ‘or rele Ts instructions for DR 8
Forms 1099, o
yi = Aes igi Se pana 1098, 3921, a
Account number {see instructions) and TIN not, | #3 iss golden parachute 14 Gross proceeds paid to 3922, 5488,. 3
payments an altomey and W-2&, = |
‘B i
[J & $ i -
15a Section 409A delerais 45b Section 409A income 18 State tax withheld 17? Slate/Payer’s stata no. £18 State income 2 L
f 9
Bes ccaeecsecccceseoneeeafecceseeancecnauanneenesceass Soe eeceee ce ee ceeeee < b
S 3 fs 5 "
fom 1089-MISC Department of the Treasury - internal Ravenye Service 3
[]voin [i coRRECTED
PAYER'S name, street address, Gly, slate, GP code, and telephone no, 4 Rents OMB No. 1945-0145
Austin Montessori School, Inc. i -
5006 Sunset Trail S Aovaitie DOGS Miscellaneous
Austin, TX 78745 yates Income :
512-892-0253 .
8 Form 1099-MISC
& Other income 4 = Fevieral insame tax withhold
$ le Gopy G
PAYER'S fader: Wentfieation RECIPIENT'S Kentification B Fishing boat pr ‘Medical and bean ear2 payments For Payer
wd TRAMIDOR. wf TUDOR cans sestsmaiimenvefenmeccesetasiee 18 ceva wuneee tear evepessaatise suimo usta wef SF State Gapy
74~-2639667 or Copy 2
S $s
RECIPIENT'S narra, address, cily and ZIP cads 7 Nonemployee compensation | & Substitute payments in feu of
aivedends oF ines! For Privacy Act
Miquel Reyes “os . ' "} and Paperwork
scence ROE ees pat Reduction Act.
3 Payer made divet safes of [10 Groep Insurance procesds “Notice, see the
$5,000 or more of sonsuraer 2008 General
freclend for reaale » Instructions for
Forms 1099,
. Fe ~- 1098, 3921,
Acgount number (see instructions) 2nd TIN net.}13 Excess golden parachute j14 Gross proceeds paid to 3022, 5498," °
: ,{ , Payments an atiornay and W-26.
[| cb
{8a Section 408A defervals 16b Section 429A Income 16 State lax withheld 17 Stale/Payor's state no. [18 Stato meome MN
a po Bo cccpeeceeengarneeccacestnnseenseseeegee Boe OL
: i fo “LO
Form 4099-MESS Deparment of the Treasury - Intemat Revenue Servicd FORA

Case 1:12-cv-00007-SS Document 28-8 Filed 07/31/12 Page6of13

AMS 000336
Eivor LI] conrnecrep

PAYER'S name, street address, cly, state, ZIP code, and telephone fa) 1 Rens OMB No, 1545-0115 ich¢

2

Bustin Montessori School, Inc, . 2 F

3006 Sunset Trail s aoa 2009 Miscellaneous —j¢

Austin, T% 78745 & Royale income =F

512-892-0253 =e
i$ Form 3099-MISG = a

3 Other income 4 Federal income lax withheld Lu x

: x

S rorte o g

PAYER'S lacerat iden Slication RECIPIENT'S Mentilication & Fishing boat proceeds S Mesieal and heath care-nayments ayer OQ eG

nuniber Ki or State Copy 5

XX-XXXXXXX or Copy 2 ie

. <

RECIMIENT'S name, address, city and ZIP cade Y Honemplayes compensation | 8 Subsiitute paymelts it Rav of mM 5

dividends or interest >

Charlotte Kroger For Privacy Act La

and Paperwork Oe

gs i Reduction Act < wi

9 Payer made direct sales of [10 Crop insurance procesds Notice, see the - 2

So.ate or more OF GORsuTTay| 2009 General i &

products to a buyer :

(vecipfeaty for resale » F [a instructions for Qn S

Forms 1099, 5

=a d spe ee 1098, 3921, <

Accou! number {see instructions} 2nd TN not. f43 Excess golden sarechute|44 Gross proceeds paid to 3922, 6498, 3

. payments an attome|y and W-2G, Z2

a

Low it $ te

45a Section 409A deferrals 7b Section 409A income 76 «State tax withheld 47 Stale/Payer’s state co, 78 Stata moome E

S$ 2

Mate a ewe eae ue ew eee sdtcecel pene eseee penemeeeneseeeraneee DD aes ace serareseeeecs zt

$ fC is — 8

Separtment of the Treasury - Internal Revenve Serica =

Fom 1099-MISC

iLivow  ( corRREcTED

Bepartment of the Freasury « intemal Reyenge Service FORM

PAYER’S nama, street eddvess, city, state, ZIP cade, and jelephene no, 1 Fonts OMS No. 1845-0115
Rustin Montessori School, Inc, if 2009 Miscellaneous
5006 Sunset Trail 2 Poyailtles Income
Austin, Tx 76745
5ig-B92-0253 is Form 1698-MiSC :
& Other income 4. Fadarad income tax withhgtd : i
es Gopy ¢
PAVEA'S federal Kientlication RECIPIENT'S Identification & Fishing boat proceeds | @ Medicelacd heal eae payouts | For Payer
LADRIMIDED,.. seesecaemens wren ssecenens nna fe EIUTIQEF ae nnuttneecrsnneesnevnete tiefig wssets eutesttatyesesssenta stan swept fe ae tees ans ems aiuifenneedt, EE COBY
or Copy 2
74~2699667 is %
RECIPIENTS name, address, chy and ZIP code F Nenemployee compensation | B Substivie gajmenis in fey of
ohadends oF terest For Privacy Act
< . and ‘Paperwork
verry Papyins A
ets ¥ BP =e aT = fees ree oe Sa a Reduction Ast —
@ Payer mtada direct sales of [48 Crop insuranca proceeds | Notice, sea the i
$5,000 or mors of consumer 2009 General
praducis to a buyer i
{recistent} jor sesala » [7] Instructions for |
Forms 1059, |
wee a 1098, 3821, :
Bnd TIN nDL} 13 Excess golden parachute | 44 3922, 5498, 7 :
- ' t and W-2G, :
8a Secon 409A doferals 1b Sectian 409A income 46 Stale tax withheld 47 Stste/Payers slata ne. [18 State income J i
7
ls s 4 ao . oad’ ¥ peer a Coe ep re QUT rer ean cae sen ape gr eccttr ’ rT :
wD :

Fom 1099-MISC

TE

Case 1:12-cv-00007-SS Document 28-8 Filed 07/31/12 Page/7of13

AMS 000338 :
tivo Cl cornrectep .
PAYER'S rans, sireal address, chy, stile, ZiP cade, and telephone ne. + Rents OMG Ne. 1545-00148 i g & :
az i
. ad = }
> ‘ @k i
Austin Montessori School, Inc. Mt DOF 0 Miscellaneous $ 2
$606 Sunset Trail 2 Royalties BY income ne
Austin, TX 78745 58
512-892-0253 s ror 1099-MISC i =
3 Other income 4 Fetorad income lax withheld x
eo. : =
~ ae — ay Payer =
PAYER'S federal iientification RECIPIENT'S identification § Fishing coat proceeds & Medkeat and bealitr cate payments £
number | number oerere - or State Copy a§$
az
XX-XXXXXXX or Copy 2 bf
S < :
RECIPIENT'S name, atidress, city anc ZIP code 7 Woxempioyes compensation | B Substitute payments tn llew of a i
dividends or interest ’ For Privacy Act 5
Paula J. McDermott and Paparwork
.
le Reduction Act a
3 Payer made direst eles of [10 Crop insurance proceads | Notice, see the 5
35.000 of Mora af seasumer. 2010 General x
7oduels lo ae buyer . os ..
(cian) for resale » [Fie Instructions for g
: Certain Oo
a : ee Information a
Account number (sea instructions) fond TIN nat. Exoses golden parachute Gross proceeds paid fo Retums, a
payments an attorney z
g
ris S & .
15a Section 4094 deferrals 19% Section 409A income 18 State tex withheld 47 Slate/Payer’s state no, 18 State income 2 r
. Bo ceceeueneesceceeretececfeveecens sceveeceneveereveeedbscsescees veer seeeevee: <
3 $ $ i 3 -
form $099-MISC Department of the Treasury - infernal Revenve Servica 3 i
C) voip. C] coRREcTED
PAYER’S name, sireat address, city, slate, ZIP ooce, and telephone no. 1 Rents OMB No. 1545-0715 :
Austin Montessori School, Inc, s Miscellaneous r
5006 Sunset Trail HODES 9070 :
Austin, TX 78745 Income
512-892-0253 ig Form 1089-MISC
3 Other income . @ Federal income tax sithheld
: Sopy &
s S For Payer
PAYER'S tederal identiication RECIPIENT'S identification 65 Fishing boat proresds B Medical and health care payments
74~2699667 or Copy 2
is
RECIFIENT'S name, address, oily and 2IP code T Noneinpiayes epmpansation | & Substitute paywrants is fy ot
dividends or wtevest _- For Privacy Act
Sheiléeh Murphy ‘ and Paperwork
a Reduction Act
3 Pays maide ciel sales af | 10 Crop insuranca proceeds | NOUCe, S66 Te
$5,000 oy more of consumer 2070 General
praducts to a buyer i ’
frecisien’) tor resaie » T 7 Instructions far
: #2 2 Gertain
ves ees Information _
Asnount number isea Instructions) 2nd TIN not. [73 Excess golden parachute {44 Gross proocedts paid to ‘Retums.
payments an ailomey .
1 . : ‘ x
Tiss
78a Section 409A delarrats Tih Section 409A Income 16 Siale (ax wilhbold 47 Staie/Payer's stale no, T& Stale income :
Form 1089-MISC Luc BHI2 Dapariment of tha Treasury - ntemal Revenue Service |

Case 1:12-cv-00007-SS Document 28-8 Filed 07/31/12 Page8of13

AMS 000339
[Jvoip Cl coprectep
PAYER'S name, streat address, chy, state, ZIP code, and telephone no, 1 Rents OMB No. 1545-0115 : g g
, =z
. I
~ Bk
Austin Montessori Schoel, Inc, if DOF 8 Miscalianeous = 2
5006 Sunset Trail 2 Royalties } ul be
ncome “
Austin, TX 78745 Sa
§12-892-0253 Form 1099-MISC i Hd
bk
a Oiher income 4 Fedaral income tax withheld z i
GE:
s $ rrr OES
PAYER’S fecaral idantificati REGIPIENT'S identificalio & Fishing boal cis & Medial aud haalin care payments LY i
number Tee number ” ° una prose * een or State Copy Qo 8 ;
: os 3 fe |
XX-XXXXXXX oF Copy 2 gy
: iS i$ =
RECIPIENTS name, addregs, city and ZIP code 7 Honempleyee componsation | 2 Sydstitute payments # feu oF Q
Hivicends ae inlaest For Privacy Act &
Charlotte Kroger : and Paperwork a
: ‘
$ k Reduction Act Bt
3 eon divacl sales o) $40 Grop insurance proreads Notice, see the %
000 or more af consume 2019 General &
produsts to @ buyer + 3
(rscipiont} for resale instructions for S
ee : y Certain 6
. information ~
bien encnagetes Seater Hes eee @
Account rumber See iesfuctions} 2nd TIN mof.j13 Excess ocidan parachute f?4 Gross proceeds paid to Returns, 2
paymants an attomey =
cis 6 a :
18a Sesten 4084 deferrais 18b Sestion 4004 income 16 0 State tax withheld 17 StateyvPayer's state po. 18 State Income z
2
beseevieresaenetseeconteenspeneenncaneesces ceotsectoseondlresensoaeasestetteeece = r
S : r
Form 1089-NMISC Department of the Treasury - Internal Revenua Servica =
Tivo [7 correctep .
| PAYER'S name, street address, city, state, ZIP code, and islephone ne, 7) Rens OMS No. 1845-0115 :
Austin Montessori School, Ine. a Miscell
: aneo i
$006 Sunset Trail Rayaitiog 201 BS Ine us i
Austin, TX 78745 Ome
12~892~0253
5 Form 1099-MISC
% Ofier incoma 4 Federal ineame tax withhetd i
s Capy C
PAYER'S federal identification REGIMENT'S identification B Fishing boal proceeds | @ Madied ond health care payments For Payer
sf FATRDR vee ence number pose wfc cee cee ev een ame OF State Gopy
7A-2699667 : ‘ot Capy 2
B Sebsiltuts payments in liew of

Nopemployee compensdtion
dividends of interest For Privacy Act

and Paperwork
Reduction Act

Notice, see the

RECIPIENT'S name, addrass, cily and 4P code

Cleotilde Maldonado

Payer made dime soles of [10 Crop insurance proceeds

Es $5,000 or more of consumer 2010 General
predunis (9 a buyer 5 t
(recipient) tor reals & ["]p instructions for
Certain i
a Soe information
Agtount aurmber {see instructions) ‘2nd THN not Excess golien parachute Gross proceeds paid Returns, , :
: \ payments mm allorney i
15a Section 209A deferrals 45b Saction 408A Income 76 = «State tax whhhed 47° Sfate/Payer's state no. 78 State incema i
Roe ececenccarscneesneeececeecalacoseceseeneancceesceteneesed Boe esessepereceeene

ie - 4

Fam 1099-MISC LMC avis Department of ihe Treasury - Interne Revenue Service

Case 1:12-cv-00007-SS Document 28-8 Filed 07/31/12 Page9of13

AMS 000340
Elvoio 1] corRectep
PAYER'S nama, Stree! Address, city, stale, 7? vode, and iclephane no. 1° Rants OMB No, 3545-175
Austin Montessori School, ine. it ' Wiscellaneous
5006 Sunset Trail 2 Royakies 201 income
Austin, PK 78745
512-892-0253 ~ $ : Form 1099-MISC
& Other income 4 Fedeyal incomes tax wilbhield
Cony ¢
PAYERS federal identification RECIPIENTS Mentifieation Se Fishing boat proceeds s Medial aad heh caro payments For Payer -
number namber eeeare / or State Cony,
XX-XXXXXXX : a er Copy 2
és Nonemployee compensalion | & Substitule paymants in Een al

RECIPIENTS name, address, city and ZIP code
divigends or inlorest For Privacy Act
and Paperwork
Reduction Act

Notice, see the

Donald E. Porter

9 Payer made direcl sales of [40 Crop insurance procesds

ae ieee mm 2010 General
prodecis to a .

(recipient) for reate » [—] instructions for

Z Certain

e : Ss information

Pucess gokten parachuie|44 Gross prosasds paid to Returns.

Account number (see instructions) Sad TIN nat t13
payments

iS

45a Section 4094 deferrals 15 Section 409A income State tax withheid 47 State/Payer's stale no. 18 State incame
aces eeneceansncecaeaee es cccfeceacedseeceseceeeeedaaeeeeed Pes seeecarecetvererese
s 8 8 | &
Form 1099-MISC Department of the Treasury ~ internal Reverwa Service
Li yor [) correcteo
PAYER’S name, stree! address, city, site, 71P code, and lelephone ne. 1° Rents OMB No, 1545-0115
Austin Montessori School, Inc. is , Miscellancous
5066 Sunset Trail 2 Royalton 207 6 income
Austin, TX 78745
- - 3 .
522-892-025 ls orn 1099-MISC
$ Giher income € Federal ingome tax wilhnake
: Capy ¢
PAYER'S federal identification RECPIENT'S idenl#ication 5 Fishing boat proceeds e. Medical ant heallh cave payments For Payer
AL RRTDEL gn ees ae MO De uve nema fee ce nie cenafan Of State Copy
XX-XXXXXXX or Gopy 2
$
RECIPIENTS name, address, city and ZIP code 7 Nonemployes compensation | § Sudstiture payments in Be vf
. : avidends or interest For Privacy Act
Franciéca Tejeda. and Paperwork
aa 1S ee ee iustion Act
9 Payar made direst sales of 140 Crop insurance proteeds Notice, see the
55,000 of more of consume; 2010 General
Fepint for resale + Cle Instructions for
: Certain
a information
Groen procends pald to Returns.

‘Account number fee istactions} and Jitnot (1a Excess golden pereehute 144
payments

an aliomey

18 Sfate income

f5a Seclion 409A deferrals 18b Secilon 409A income Slate/Payer's state ria,

$
Forn 1099-MISG LMG: S142

DETACH BEFORE MAILING

MANUFACTURED IN U.S.A. ON OCR LASER BOND PAPER LLIGING HEAT RERUSTANT Inet

optics

Case 1:12-cv-00007-SS Document 28-8 Filed 07/31/12 Page 10of13 .
AMS 006341
tivo EL] cornrectep
PAYER'S name, strast adrhass, cily, siale, ZIP coda, arf telephone no. 7 Asnts OMB Mo, 1645-0115 } g 2
SZ
=.
~ ye
Austin Montessori School, Inc. $ DO1D Miscellaneous 32
5006 Sunset Trail 2 Rayaities Income ul
Austin, TX 78745 58
512892-0255 5 Form 1999-MISC | Be
3 Olher income 4 Federal incon tax wilthel¢ =i
Copy o ot
PAYER'S federal idartlRcation RECIPIENT'S losntineation PB Fishi seal roreads LS Wadia’ and heal gare payments For Paver he
number nurnber “mee or State Copy = OS
XX-XXXXXXX . or Copy 2 i
+S x=
RECIPIENTS name, address, city and ZIP code 7 Nonemphyee compensation } 8 Substiule payments in Hew of
L aivitends or intorest For Privacy Act 5
Jerry Pippins, General Contractor and Paperwork a
; or
is i Reduction Act Wy
& Payer made direct salts ol |46 Crop insurance proceeds Notice, see the Ss
$5,000 oF mae of consumer 2010 General 5
products to a buyer . :
freeisteni) for resaia » | It Instructions tor 2
TEE = Certain 9
Information g
Account aumber (gee Instructions} d TiN not; ES Excess ‘agvden parachute!44 Gross proceeds paki lo Returns. 3 :
payments an attomey z :
a i
[lt $ x , oo:
15a Section 409A deferals 15b Section 409A income 16 State tax withherd 17 Stateyrayer's stato ro. [18 State income - i L
eeeeescenteseenees “eocesasefaneessoncsteseeceeersecssie|Bacgeceseeecoerveeere eit,
i$ 3 Pook
Fom 1899-MiISC Deparimsnt of the Tronsury - internal Revenue Service = ! i
Livoip Cl correcreo
| PAYER'S name, street address, clly, stale, ZIP code, and telephone no. + Rents OME No, 1545-0715
Austin Montessori School, Inc, s 4 Miscellaneous :
5006 Sunset Trail 2 Royatios QO 0 ts
Austin, TX 78745 Income
§12-$92-0253 Form 1099-MISC
3 Other Income 4 Federal income lar withheld
Gopy C
PAYER'S federal identification RECIPIENT'S Identification S Fishing boat proceeds . Medical aed health care oayments For Payer
SPRUE ees senna of APMED cane neues feces nts nies eeventneennnen magne SEM COPY
74=-2699667 . or Copy 2
i §
REGIPIENT'S nama, address, city and ZIP cocie 7 Nonemployee compensation | 8 Substitsfe paymenis in teu of
dividateds or interest For Privacy Act
Leslie K. Grove and Paperwork
__ _ meaeermmuherne COuction Act
a Payer made dweci sales of 110 Crop insurance psoceads | Otte, See The
$5,000 or more of eonstiner' 2010 Genera!
produgts 19 @ buyer -
{recipient} for resale C] Instructions for
tt 12 Be ee Gertain
ee 2 i < information
AscOUML sumnber (see instructions} and Tit not.143 Excess gokden parachuia} 14 Gross proceadis pald tn Returns.
’ . payments an atiomey .
C6
15@ Seclion 409A delaras 76h Section 409A moome 16 Slate tex withheld 17 Stala/Payer's stafe no. 38 Slate income
L f ecco teeteresence venseatefegeccececceeeeeeeeeececoeeees Be eecees
. . . 4 , 2 w
Fom 1099-MISG LMG 8112 Dapartment of the Treasury ~ intemal Slevenue Sevice

Case 1:12-cv-00007-SS Document 28-8 Filed 07/31/12 Page 11o0f13

an alionmey

Rayments

Slate/Payer’s state no. 18 State income

18a Section 409A deferrals 13% Saction 409A inceme

AMS 000342
Eivoiw [] correctep

PAYERS name, sleet acidress, city, state, ZIP once, and teleplone no, + Renla OMB No, 1545-6115 : g g
7S
Austin Montessori School, Inc. $ O04 0 Miscellaneous = 3
5006 Sunset Trail 2 Aloyaities income i
Austin, TX 78745 SD
512-892-0253 gs Form 4099-MISC i
. 2 Other income 4 Fedora! Inome tax withheld s
Gapy ¢ ort
PAYER'S federal identification RELIPENTS Wantioan S Fishing boat praceeds S Medical ond health care paynicals For Payer fi Z
aunter Dumber ov + Tighing boat or State Copy as.
XX-XXXXXXX or Copy 2 i
—
Qe
RECIPIENT'S name, address, city and ZIP code 7 Sonemployes compensation | 8 Sebstivte payments in bev of Oo
Sividends OF infersst For Privacy Act 6
Barbara Weiss and Paperwork
is : Reduction Act ui
9 Payer made direct sales af [16 Crop insurance procends Notice, see the 5
$6,000 of rare of consumer 2070 General 5

pro 0 a Ser : =
{recipient} for resale ® [7] Instructions for S
es Certain oS
ere pati ena information a
‘Account number {see Instructions} Za TIN ToL | 13 Excess geiden parachute|14 Gross proceeds pait! © Returns, 3
a
li
ir
3
5
is
>
2
<<
=

is

Fom 1089-MISG

Department of the Treasury - Inlarnel Reverie Service

Elvow [| corprRecTED

PAYER’S namie, stra! address, city, state, 2IP cede, and lslephone ne. 1 Aents OMB Noe. 1546-0715
Austin Montessori School, Ine, is Miscellaneous -
5006 Sunset Trail 2 Royalties (} Income b
Bustin, TH 78745
§12-892-0253
if Form 1099-MISC
3 Other incema 4 Fedaral Income tax withheld
Copy ¢
PAYER'S federa! identification RECIPIENT'S identification B Fishing boa? proceeds . iedical and heath cae payments For Payer :
DAMME Fe ssc coe seccc sees ee ese oe econ UMD SE vec cpccssattufrctnnnnsnnnaiaian is warsyen pone yates misnecreeresnemnfiees  OF See GOV
74-Z699667 or Copy 2
$ |
REGPIENTS name, address, city and ZIP cove 7 Nonamployes compensation | 8 Substityte payments in flew of i
dividends or interest For Privacy Act :
Caivin 8. Carter and Paperwork
eee iS Reduction Act ces
8 Payor mad 10 Crop ingumanee proceeds | Notice, see the
$8.00 om so of gonsumar 2010 General
profuchs io a buyer :
(recipient) tor resale & [He instructions for
as Certain
eae information i
Account number (ee instructions} 2nd TIN not. . Returms.
: a
158 Section 408A deierrals 450 Section 4094 income $60 State tax wanheld 37 State/Payer's state no. & State Income
. ; we Plt eee eee eee bee Qin e ee  eee ere ee reeeee paterson
$ $ :
Fom 1099-MISG LMC 5112 Repartment of the Treasury - Intenzal Revenue Service

Case 1:12-cv-00007-SS Document 28-8 Filed 07/31/12 Page 12 of 13

AMS 000343
Civow [1] coprectep .
PAYER'S nama, sireel ackiress, city, stale, ZIP code, and telephenano. $1 Rents OMB Wo. 1545-0175 | g g
az
. ak
Austin Montessori School, Inc. 204 Miscellaneous s 3
$006 sunset Trail 2 Royalties : income = Wo
Austin, TX 78745 OR :
512-892-0253 % Form 1089-MISG i &
3 Other income 4 Foderal income lax withheld = <
Copy G QS
PAVER'S federal dantification REGPIENT’S (deniificatl 8. Fishing boat proceads 5 Medical and buailh earo paymnoals For Payer ins
nurviber “we sumber ommeanes oe or State Copy. © ze
XX-XXXXXXX ‘Be . , oy Copy 2 ii
=
- a
RECIPIENT'S name, address, city and ZIP cade Be Honamployed comgensation | & Subebiete payments in Rey of o
dividends ar interes For Privacy Act S
Miguel Reyes . and Paperwork 6
is Reduction Act ii
S Payer aude diiect sake 0) [10 Geog Insurance procesas | Notice, see the 3
86.000 < more of consame! 2010 General gS |
chs 10 3 E . 3 i
Treinen or weale » (} . instructions for o |
@ 1 Gertain 5
aera Information a
Agcount number See instructions) 2nd THN not. 48 Excess goiden parachute /74 Gioss proceads pald to Returns, >
payments an attorney =
Oo a
158 Saclion 409A doferrals 18b Seotion 4094 income 16 State tex withhold 17 State’Payers stale no, 18 Ske income 5 r
, BD occeceecueeccee ences Levefeerearnee beebetercees cena PB ge cece cn ceee eee ee sane ©
¢ 5 is 2 F
Department of the Treasury - Internal Revenue Service = -

Form TO08-MISC

Clyvoi {i correcrep

PAYER’S namo, sirest address, clly, slate, ZIP cede, and telephona no. + Rents OMB No. 1545-0175 . :

Austin Montessori School, Inc. DOI £ NWiscellaneous
5006 Sunset Trail 2 Royalties Income ,
Bustin, TX 78745 :

512-892-0253 conn 1098-MISC
: 3 Cther income 4 Fedara? income tax withheld

Copy G

PAYER'S federal kdantification RECIPIENT'S Idantifiealia: 5 Fishing boat proceeds S Madigat and heailh care freyrnants For Payer

FE or Copy 2

XX-XXXXXXX

is .
7 Nonerphyee compensalian | 9 Substitute payments in leo ot
dividends oF Interest For Privacy Act

RECIPIENTS name, address, city and ZIP code

Patricia Oriti and Paperwork
f | -_._.Meduction Agt
& Payer aad P 19° Crop insurance proceeds Notice, see the
$3,200 or plore ef consumer 2810 General
products to a buyer :
freciniend for resets > [] instructions for
Certain
information
At. sae
Account number [see instructions) 2nd TN not.|13 Excess golden parachute ]14 Gross proceeds paid to Returns.
‘ ho. payments an attarmey
Cs 3 2
15a Seciion 408A deferrals 156 Section 408A income 4 Slate lex wiihhokd 17 SatevPayer's state no. 48° Stale income i
le beg ceeceececpeceneenenentef ne sccccesnepenencees orf veces pene eee ‘
Foon F099-MISG LMG , 5112 Oopartment of the Troasury » inlamal Revenue Service i
i
i
t

Case 1:12-cv-00007-SS Document 28-8

Filed

07/31/12

Page 13 of 13

. W595. Ci vow... CL) comRectép.
PAYERS name, street addniss, city, state, ZIP code, and deléphone no. 1 Rants ‘OME No. 748-0115
Austin Montessori School, Inc. .
5006 Sunset Trail $ DOH] 0 Miscellaneous
Austin, TX 78745. 2 Royalties fa Income
512-892-0253 _.
Is Form 1099-MISG
8 Other ieame 4 Federal income tax withitishd Copy A
For

$

internal Flevenue

FECIPENT’S xientificaion

PAYER'S federal dentiication
number a
XX-XXXXXXX

5 Fishing boai proeseds:

O Medical and heats cam paymentis

Service Center

File with Form 1096,

RECIFIENT'S name
Lucinda Castillo

¥ Noneraployee-componsalion

3008.00

8 Subsiilula payments ii tee ot
sraifeniis or inleres!

For Privacy Act
and Paperwork.

Reduction Act
Notice; see tre

= Sa. weit. 11D.)

& Payer mate direct sales of

pfodagcts 10.3 buyer
{recipient} far resale >

s

s i? / iis

fae

Acco numer igée. instimctions) -

ang TIN rigt. | 13

ry

Excess gaiden parachyte.
paymens

$5,000 of ‘mnre ol. consumer]

10) Crop insurance -preneads

ae ar

“4 G

an atiomey

$

7 Sorte ys f ee
procesds paid te

20140 General
Instructions for
Certaln
information
Returns:

Sa Section 4094 defenals 488 Section 409A incorhe

ig sen eneinnl

46 State fax wilhheld

47 Sute/Payer's-staia.no,

is

_ Foran 1089-MISC LMA”

XX-XXXXXXX

Beparhment of ihe Treasurys intemal-Ha

48 State gicora

Beene

venue Service

